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Drake Shunneson

 

 

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From: Drake Shunneson
Sent: Tuesday, May 23, 2017 11:24 AM
To: `Joanna Hughes'
Subject: Re William Stephens l\/chenry County Court Case No. 16CH467
Attachments: Supplemental Docs - Stephens.pdf

Joanna,

Please see attached supplemental documents Bill dropped off. | tried faxing them to SPS, but did not receive the
confirmation yet. l am in the office this afternoon. Thanks.

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